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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,                              CIVIL ACTION NO.:

                          Plaintiff,                   HONORABLE:

vs.

MICHAEL JOHNSON

                       Defendant,

                                           COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        The United States of America, plaintiff, alleges that:

                                           Jurisdiction

        1.     This court has jurisdiction over the subject matter of this action pursuant to

Article III, Section 2, U.S. Constitution and 28 U.S.C. § 1345.

                                               Venue

        2.     The defendant is a resident of Wayne County, Michigan within the jurisdiction of

this Court and may be served with service of process at 3643 E. Vernor Hwy. Detroit, MI 48207-

3341.


                              The Debt – Account No. 1998A16325

        3. The debt owed to the United States of America is as follows:

               A. Current Principal (after application of all
                  prior payments, credits, and offsets)                              $6,947.93

               B. Current Capitalized Interest Balance and
                  Accrued Interest                                                   $5,945.99

               C. Administrative Fee, Costs, Penalties                               $    3.80
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                    D. Accrued Capitalized Interest since August 28, 1997             $7,949.76

               Owed                                                                   $20,847.48

                              The Debt – Account No. 1998A13489

       4. The debt owed to the United States of America is as follows:

               A. Current Principal (after application of all
                  prior payments, credits, and offsets)                                $2,016.00

               B. Current Capitalized Interest Balance and
                  Accrued Interest                                                     $1,097.75

               C. Administrative Fee, Costs, Penalties                                $    87.00

                    D. Accrued Capitalized Interest since January 25, 1999            $ 919.35

               Owed                                                                   $4,120.10

               Total Owed (Accounts 1998A16325 and 1998A13489)                        $24,967.58

       The Certificates of Indebtedness, attached as Exhibit “A”, shows the total owed

excluding attorney’s fees and CIF charges. The principal balance and interest balance shown on

the Certificate of Indebtedness is correct as the date of the Certificate of Indebtedness after

application of all prior payments, credits and offsets. Prejudgment interest on Account

1998A16325 accrues at the rate of 7% per annum. Prejudgment interest on Account 1998A13489

accrues at the rate of 3% per annum.

                                               Failure to Pay

       5. Demand has been made upon the defendant for payment of the indebtedness, and the

           defendant has neglected and refused to pay the same.

       WHEREFORE, USA prays for judgment:

               E.      For the sums set forth in paragraph 3 and 4 above, plus prejudgment

interest through the date of judgment, all administrative costs allowed by law, and post-judgment
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interest pursuant to 28 U.S.C. § 1961 and that interest on the judgment be at the legal rate until

paid in full;

                F.     For attorney’s fees to the extent allowed by law;

                G.     Filing fee of $350.00 as premitted by 28 U.S.C. § 2412(a)(2); and,

                H.     For such other relief which the Court deems proper.



                                      Respectfully submitted,

                                  By: /s/ Craig S. Schoenherr, Sr.____________
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